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 1 James E. Holland, Jr. (021826)
   Javier Torres (032397)
 2 STINSON LEONARD STREET LLP
   1850 North Central Avenue, Suite 2100
 3 Phoenix, Arizona 85004-4584
   Tel: (602) 279-1600
 4 Fax: (602) 240-6925
   Email: james.holland@stinson.com
 5         javier.torres@stinson.com
   Attorneys for HKB, Inc., dba Southwest Industrial Rigging
 6
 7                                   UNITED STATES DISTRICT COURT
 8                                       DISTRICT OF ARIZONA
 9
   HKB, INC., an Arizona corporation,                 No. 2:16-cv-03799-DJH
10 doing business as SOUTHWEST
   INDUSTRIAL RIGGING,                                NOTICE OF SERVICE OF ORDER
11                                                    (DKT. #7) AND HKB, INC.’S
                       Plaintiffs,                    DISCLOSURE STATEMENT (DKT.
12                                                    #8)
   v.
13
   BOARD OF TRUSTEES FOR THE
14 SOUTHWEST CARPENTER’S
   SOUTHWEST TRUST; CARPENTERS
15 SOUTHWEST ADMINISTRATIVE
   CORP.,
16
                       Defendants.
17
18            Plaintiffs’ HKB, Inc. dba Southwest Industrial Rigging hereby give notice that,

19 on November 8, 2016, they served by first-class mail, postage-prepaid, the Court’s
20 Order (Dkt. #7) and the Corporate Disclosure Statement (Dkt. #8) upon Defendants’
                                                             th
21 Statutory Agent: John Decarlo, 533 South Fremont Avenue, 9 Floor, Los Angeles,
22 California 90071
23            DATED this 8th day of November 2016.

24                                                  STINSON LEONARD STREET LLP
25                                            By:   /s/ James E. Holland, Jr.
                                                    James E. Holland
26                                                  Javier Torres
                                                    1850 North Central Avenue, Suite 2100
27                                                  Phoenix, Arizona 85004-4584
                                                    Attorneys for Southwest Industrial Rigging
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